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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA




    Jose Daniel Castillo-Antonio
                                               ,              Case No. C 19-6888 RMI
                     Plaintiff(s)
    v.                                                        NOTICE OF SETTLEMENT OF ADA
                                                              ACCESS CASE
    Ali Ahmed Alammari et al.
                                               ,              (ADA ACCESS CASES)
                     Defendant(s)




   The parties have reached an agreement to resolve this action in its entirety and intend to file a
                     195 days.
   dismissal within _____




   Date: 10/5/2020
                                                    Signed: /s/ Richard A. Mac Bride
                                                                       Attorney for Plaintiff(s)
                                                    Signed: /s/ Beilal Chatila
                                                                       Attorney for Defendant(s)
                                                    Signed:
                                                                       Attorney for Defendant(s)




                                                                                                     Print Form

Important! E-file this form in ECF using event name: “Notice of Settlement of ADA Access Case”
   Form GO 56- Notice of Settlement of ADA Access Case – new 01-2020
